  Katherine Searcy                         'II' (310) 337-7625           l?iJ 10/9/97   CY2:22 PM     [']2/3




     TALKING IT OVER
     BY HILLARY RODHAM CLINTON
     FOR IMMEDIATE RELEASE


              It's fairly easy to disregard dangers to ourselves. We might go out with a fever or
     cross against the light, but we would never let our children do the same.
              When it comes to kids, the rules are different. Our concern for children -- if not for
     ourselves -- should enable us to face the facts about climate change. Global warming, as
     we learned at a conference my husband convened this week at Georgetown University,
     is not just an abstract scientific issue. It is a fundamental health and safety issue that will
     have a profound impact on the lives of children the world over.
               At Georgetown, scientists presented research making it clear our climate is
     changing. Rising concentrations of carbon dioxide and other gases released when fossil
     fuels are burned are warming the Earth's atmosphere. While we don't know exactly how
     much or how fast temperatures are rising, we do know that global warming is taking
     place.
              Today, one of the biggest threats to children is disease -- particularly disease
     rooted in environmental causes. Millions of children under the age of 5 die every year
.from preventable, easily treated conditions. As I learned at the conference, these health
    problems are likely to get worse if we do not do something about climate change.
               Let me give you just one example: the spread of infectious diseases.
               In 1995, infectious diseases -- like malaria, cholera and yellow fever -- killed more
     than 17 million people worldwide. Nine million of those were children.
               Increases in temperature hasten the spread of infectious diseases for two reasons.
     First, they shorten incubation periods. That means disease-carrying viruses, bacteria and
     parasites can reproduce and spread faster. Second, cool temperatures protect parts of
     the world from certain diseases, serving as an important line of defense. Tropical
     diseases that can survive in hot, humid climates just aren't going to make it in colder
     ones. Unless temperatures rise.
               Take a disease like malaria, which is spread primarily by mosquitoes. There are
     half a billion cases of malaria every year. In 1995, 2.1 million of these resulted in death --
     mostly to children under the age of 5.
               For this reason, higher temperatures should be a matter of real concern. Areas that
     were previously free of malaria mosquitoes, such as mountainous regions in Rwanda
     and Kenya, are now reporting an influx of the insects. In Costa Rica and Colombia,
        osquitoes that were never seen above 1,000 meters have been spotted at twice that
     altitude.




                                                                                                    P00000139698
Katherine Searcy                        11' (31 0) 337-7625          lliJ 1 0/9/97    (\)2:22 PM     [J3/3

   TALKING IT OVER 10!7/97                                                           Page 2


         In fact, according to one study, as a consequence of climate change, the
   percentage of the world's population at risk to malaria could increase from 45 percent to
   60 percent. And the United States is not immune.
            Climate change has the potential to exacerbate other problems that imperil
   children, including respiratory conditions like asthma. Already, nearly 5 million American
   children suffer from asthma, and that number is rising.
          This is one important reason why the President is working to forge a plan of action
   to address this threat. Any approach to reducing greenhouse-gas emissions will take
   time, however, ror It will require the cooperation or all sectors or society and the
   participation of governments around the world.
            Fortunately, any one of us can act now. There are simple things we can do in our
   daily lives to help slow global warming.
            For starters, we can conserve energy, reducing the emissions linked to climate
   change. We can insulate our houses; we can make sure the appliances in our homes are
   energy-efficient; we can do what my dad used to do every time he left an empty room --
   turn off the lights.
            While Bill and I don't have a house of our own. we have taken steps at the White
   House to cut energy usage.
         The new energy-efficient lights that illuminate the White House at night have
   reduced energy consumption by 51 percent. New lighting inside the White House
   complex is also cutting power usage substantially. There's a state-of-the-art refrigerator
   downstairs that exceeds energy-efficiency standards by 30 percent, and a new air
   cooling system that is projected to save more than 400,000 kilowatts of electricity every
   year.
             Not only are these changes saving a lot in energy bills every year, they are
   expected to keep more than 5.5 million pounds of global-warming greenhouse gases out
   or the atmosphere by reducing the need ror electricity generated by fossil-fuel-burning
   power plants.
         I know these are small steps. But sometimes, small steps can walk us a long way
   toward solving a big problem. Every time my dad turned off a light switch, he saved
   something for his children. By acting now to reduce climate change, we can each, in our
   own way, safeguard the world for our children, their children and generations beyond.
   COPYRIGHT 1997 CREATORS SYNDICATE, INC.
   ALL RIGHTS RESERVED
   October 7, 1997




                                                                                                   P00000139699
